Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            C ase No.   23-20248-CR-SCOLA/GOODMAN
                                      18U.S.C.j1349
                                      18U.S.C.j1347                                SAL
                                      18U.S.C.j982(a)(7)
                                                                         Jun 15, 2023
  UN ITED STA TES O F A M ER ICA

  VS.                                                                                  Miami Magistrate


  AR IEL G O N ZA LEZ and
  LIN DA TA YLO R ,

               D efendants.
                                             /


                                        IN D ICTM ENT

        The Grand Jury chargesthat:

                                 G EN ER AL ALL EG A TIO N S

        Atal1tim esrelevantto thislndictm ent:

                                    C om m erciallnsurance

               Employers JetBlue Airways ('tJetBlue'') and AT&T lnc. C(AT&T'') offered
 Administrative SelwicesOnly (û$ASO'')insurance plansto theiremployees. These employers
 contractedwiththecommercialinsurancecompanyBlueCrossBlueShield (IVBCBS'')tohandle
 the adm inistrativetaskssuch asbilling,elaim shandling,and d aim spaym entwith respectto claim s

 subm itted on behalf oftheir em ployees.These A SO insuranee plans reim bursed BCBS for the

 m oney BCB S paid outforhealth benefitsfortheirem ployees.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 2 of 12




            2.   BCBS and the ASO insurance plansoffered by JetBlue and AT& T m anaged by

  BCBS w ere health care benetit program s, as detined in Title 18,U nited States Code, Section

  24(b).
            3.   BCB S often m adepaym ents directly to physicians,m edicalclinics,orotherhealth

  care providers,ratherthan to the beneficiary who received the health care benefits,items,and

  services.This occurred when the provider aceepted assignm entofthe rightto paym ent from the

  beneficialy.

            4.   To obtain paym entfortreatm entorservicesprovided to a beneficiary,physicians,

  m edical clinics, and other health care providers had to subm it item ized claim fonns to the

  beneficiary'scom m ercialinsuranceplan.Theclaim form sw eretypically subm itted electronically

  via the internet.The claim fonn required certain important information,including'
                                                                                  . (a) the
  beneficiary'snameand Health Insurance Claim Numberorotheridentitication number;(b)a
  description of the health care benefit, item ,or service that Nvas provided or supplied to the

  beneficiary'
             ,(c)thebilling eodesforthebenefit,item,orserviee;(d)thedateupon which the
  benefit,item,orservicewasprovided orsupplied to the beneficiary;and (e)the nameofthe
  referring physician orotherhealth care provider,as w ellas a unique identifying num ber,known

  eitherastheUniquePhysician ldentification Number(ûtUP1N'')orNationalProviderldentifier
  (tû11ilà1'')
                 W hen a provider subm itted a claim form to a com m ercialinsuranee plan such as

  those m anaged by B CBS,the provider certitied thatthe contents ofthe form w ere true,correct,

  and com plete, and that the fonn was prepared in com pliance w ith the applicable law s and

  regulations concerning the subm ission ofhealth care claim s.The provider also certitied thatthe

  servicesbeingbilled were medically necessary and were,in fad,provided asbilled.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 3 of 12
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 4 of 12




  didwillfully,thatis,withtheintenttofurthertheobjed oftheconspiraey,andknowinglycombine,
  conspire,confederate and agree w ith each other,GabrielLozada,Y ohana Iriza,aIV a ûtY ohana

  Lozada,''Anthony Lozada,and with othersknown and unknown tothe Grand Jury,to com mitan

  offenseagainsttheUnited States,thatis,toknowingly and willfully executeaschem eand artitice

  to defraud ahealth carebenefitprogram affecting comm erce,asdefined in Title 18,United States

  Code,Section 24(b),thatis,BCBS andASO insuranceplansmanaged by BCBS,andtoobtain,
  by m eans ofm aterially false and fraudulentpretenses,representations,and prom ises,m oney and

  property ow ned by,and under the eustody and eontrolof,said health eare benefit m ogram ,in

  connection w ith the delivery of and paym ent for health care benetits, item s,and services, in

  violation ofTitle 18,U nited StatesCode,Section 1347.

                              PUR PO SE O F T H E C O N SPIM CY

                ltw as a purpose ofthe conspiracy forthe defendants and theirco.conspirators to

  unlawfullyenrichthemselvesby,amongotherthings:(a)offeringandpayingkickbacksandbribes
  topatientrecruitersin returnforreferringBCBS benetieiariesto Phoenix Rehab;(b)submitting
  andcausingthesubmissionoffalseandfraudulentclaimstoBCBS;(c)concealingthesubmission
  offalse and fraudulentclaims to BCBS;(d)concealing the receiptand transferofthe fraud
 proceeds;and(e)diverting thefraudproceedsfortheirpersonaluseandbenetit,and theuseand
 benefitofothers,and to furtherthe conspiracy.

                      M AN N ER AN D M E AN S O F TH E CO N SPIR ACY

         The m anner and m eans by w hich the defendants and their co-conspirators sought to

 accomplishtheobjectandpurposeoftheconspiracy included,amongothers,thefollowing:
         4.     Gabriel Lozada, Yohana Iriza, a/V a klY ohana Lozada,'' and A nthony Lozada

  offered and paid kickbacksand bribesto patientrecruiters,including LIND A TA Y LO R , in return
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 5 of 12




  forreferringBCBSbeneficiariestoPhoenixRehabto beusedtosubmitfalseand fraudulenthealth

  insurance claim s to B CB S for health care benefits that w ere m edically unnecessary and not

  provided to the beneficiaries asrepresented.

         5.     LINDA TAYLO R and GabrielLozada offered and paid kickbacksand bribesto

  beneticiariesofBCBSandASO insuranceplansmanaged by BCBS inreturn forallowing Phoenix

  Rehab to subm itfalse and fraudulenthealth insurance claim sto B CBS forhealth care benefitsthat

  weremedically unnecessary and notprovidedto thebeneficiariesasrepresented.

         6.     A R IEL G O N ZA LEZ provided funding to Phoenix R ehab to further the fraud

  schem e,including by taking out a business loan forPhoenix Rehab and by bringing large sum s

  of cash to his co-conspiratorsto pay kickbacks and bribes to patientrecruiters and beneficiaries

  ofB CBS and A SO insurance plansm anaged by BCBS.

                A R IEL G O N ZA LEZ,LIN D A TA Y LO R ,G abrielLozada,Y ohana lriza,a/k/a

  ûtYohana Lozada,''and A nthony Lozada subm itted and caused Phoenix Rehab to subm itclaim sto

  BCBS which falsely and fraudulently represented that various health eare benefits had been

  provided by Phoenix Rehab to beneficiaries of B CBS and A SO insurance plans m anaged by

  BCBS.

                A s a resultof such false and fraudulentclaim s,BCBS m ade paym ents to Phoenix

  Rehab through the corporate bank accountsofPhoenix Rehab.

                AR IEL G O N ZALEZ ,L IN D A T AY LO R ,Gabriel Lozada,Yohana Iriza,a/k/a

  lsYohana Lozadar''Anthony Lozada,and theirco-conspiratorsused the proceeds ofthe health care

  fraud fortheirpersonaluse and benetit,the use and benefitofothers,and to furtherthe fraud.

          Allin violation ofTitle 18,United States Code,Section 1349.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 6 of 12




                                            C O U NT S 2-5
                                         H ealth C are Fraud
                                          (18U.S.C.j 1347)
                 The G eneralA llegations section ofthis lndictm entis re-alleged and incorporated

  by reference asiffully setforth herein.

                 From in oraround August2018,and eontinuing through in oraround Septem ber

  2020,in M iam i-D ade and Broward Counties,in the Southern D istrictofFlorida,and elsewhere,

  the defendants,

                                       AR IEL G O NZA LEZ and
                                          LIN D A TA Y LO R ,

  in connection w ith the delivery ofand paym ent forhealth care benefits,item s,and services,did

  know ingly and w illfully execute,and attem ptto execute,a schem e and artifice to defraud a health

  care benefit program affecting com m erce,as defined by Title l8,U nited States Code, Section

  24(b),thatis,BCBS and ASO insuranceplansmanaged by BCBS,andto obtain,by meansof
  materially false and fraudulent pretenses,representations,and promises,m oney and property

  owned by,and underthe custody and controlof,said health care benefitprogram .

                        PU R PO SE O F TH E SC H EM E A N D A R TIFIC E

                ltw asapurpose ofthe schem e and artifice forthe defendantsand their accom plices

  to unlawfully emich themselvesby,among otherthings:(a)offering andpayingkickbacksand
 bribes to patientreeruiters in return forrefening BCBS beneficiaries to Phoenix Rehab;(b)
  submittingandcausingthesubmissionoffalseandfraudulentclaimsto BCBS;(c)concealingthe
  submission offalseandfraudulentclaimstoBCBS;(d)concealingthereceiptandtransferofthe
 fraudproceeds;and(e)divertingthefraudproceedsfortheirpersonaluseandbenefit,andtheuse
  and benefitofothers,and to furtherthe fraud.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 7 of 12




                M ANNER AND M EANS O F TH E SCH EM E AND ARTIFICE

         4.      The allegations contained in paragraphs4 through 8 ofthe M annerand M eans of

  the Conspiracy section ofC ount1 ofthislndictm entare realleged and incorporated by reference

  asthough fully setforth herein asa description oftheschem eand artifice.

                 AV TS IN EXECUTION OF THE SCHEM E AND ARTIFICE
                O n or aboutthe dates and forthe defendants specitied below ,in M iam i-D ade and

  Broward Counties, in the Southern Distrid of Florida, and elsewhere, the defendants, in

  connection w ith the delivery of and paym ent for health care benefits,item s,and services,did

  know ingly and w illfully execute,and attem ptto execute,the above-described schem e and artifice

  to defraud a health care benetitprogram ,in thatthe defendants caused the subm ission of claim s

  to BCBS whieh falsely and fraudulently represented that physicaltherapy selwices had been

  provided by Phoenix Rehab to beneficiaries of BCBS and ASO insurance plans m anaged by

  BCBS,as setfol'th below :

     Count A pprox.D ate             D efendants          Beneficiary       C laim N um ber;
              C laim                                                       A pprox.A m ount
             Received                                                           Claim ed
                                A R IEL G O N ZA LEZ                     11100000748575579
              June 14, 2019                and                                   $1          ;
                                 LIN DA TA YL O R                                  ,410
              S             A RIEL G O N ZA LEZ
               eptem ber27,            a                     vvu         11100000769062034;
                  2019       LIN DAanq
                                     TA YL O R               J.1.   .
                                                                               $1,740

              N ovem ber22,     x m sj c o xzA tuEz           B.F.       11100000780710855;
                                       w
                   2019                                                         $1,560
                 M arch 6,      A R IE j. c o x zA tzEz      A .M .      11100000801639616;
                   2020                                                         $1,560

        ln violation ofTitle 18,United StatesC ode,Sections 1347 and 2.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 8 of 12




                                FO R FEITU R E A LLEG ATIO N S

                The allegations contained in this lndictment are hereby realleged and by this

  reference fully incorporated herein forthe purpose of alleging forfeiture to the U nited States of

  A m erica certain property in w hich the defendants,A RIEL G O N ZA LEZ and LIN DA TAY LO R ,

  have an interest.

                Upon conviction ofa violation ofTitle 18,U nited States Code,Section 1347,or a

  conspiracy to com m itsuch offense,asalleged in thislndictm ent,the defendantsshallforfeitto the

  United States any property,realorpersonal,that constitutes or is derived,directly or indirectly,

  from gross proceedstraceable to the com m ission of such violation,pursuantto Title 18,United

  StatesCode,Sedion982(a)(7).
                lfanyoftheproperty subjecttoforfeiture,asaresultofanyactoromissionofany
  defendant:

                (a)     cannotbelocatedupontheexerciseofduediligence;
                (b)     hasbeentransferredorsoldto,ordepositedwithathirdparty;
                        hasbeenplacedbeyondthejurisdictionoftheCourt'
                                                                    ,
                        hasbeen substantially dim inished in value;or

                        has been com m ingled with otherproperty which calm otbe subdivided

                        withoutdifficulty;

 the United Statcsshallbeentitled to theforfeiture ofsubstitute propel'ty underthe provisions of

  Title21,UnitedStatesCode,Section853(p).




                                                 8
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 9 of 12




        AllpursuanttoTitle18,UnitedStatesCode,Sedion982(a)(7),andtheproeeduressetforth
  at Title 21,U nited States Code, Section 853,as incorporated by Title 18,United States Code,

  Section982(b)(1).


                                                  A TR UE BILL



                                                  FO REPERSON




    A EN ZY L P IN TE
  U N 1 ED STA T TTORN EY


           x

            .   y                 '
  W ILL J.R OSEN ZW EIG
  A SSISTAN T UN ITED STA TES A TTORN EY
 Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 10 of 12
                                  UN ITED STA TES D ISTR IC T CO URT
                                  SO U TH ER N DISTRICT OF FL OR IDA

U NITED STATES O F AM ER IC A                       CASE N O .:


                                                    C ER TIFICATE O F TRIAL ATTO RNEY
ARIEL GONZALEZ,etal.
                                        /           Superseding C ase lnform ation:
                Defendants.                         New Defendantts)(YesorNo)
CourtDivision (selectone)                           N um berofN ew Defendants
   (8iM iami r Key w est r FTP                      Totalnum berofcounts
   r FTL         r W PB
ldo hereby certify that:
  1. Ihave carefully considered the allegations ofthe indictm ent,the number ofdefendants, the numberofprobable
       witnessesandthelegalcomplexitiesofthe lndictment/lnform ation attached hereto.
       lam awarethattheinformationsupjliedonthisstatementwillberelieduponbytheJudgesofthisCourtinsetting
       theircalendarsand scheduling crimlnaltrialsunderthe mandateofthe Speedy TrialAct, Ti
                                                                                          tle28U.S.C.(3161.
       lnterpreter:(YesorNo)Yes
       ListIanguageand/ordialect:spanish
       Thiscasewilltake 4 daysforthepartiestotry.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
       l ? 0 to 5days                       L Petty
       11 EI 6to l0 days                    U M inor
       lll L 1lto20 days                    L M isdemeanor
       IV EI21to 60 days                    R Felony
       V L 61daysand over
      Hasthiscasebeen previously filed inthisDistrictCourt?(YesorNo)X0
      lfyes,Judge                                   Case N o.
      HasacomplaintbeenGledinthismatter?(YesorNo)No
       Ifyes,M agistrate Case N o.
 8. Doesthiscaserelateto apreviously filed matterin thisDistrictCourt?(YesorNo)Yes
      Ifyes,Judge A ltm an                          CaseN o. 22-c1--20562-R.KA
 9. Defendantts)infederalcustodyasof
 10. Defendantts)in statecustody asof
 11. Rule 20 from the                D istrictof
 12. Isthisapotentialdeathpenaltycase?(YesorNo)No
 l3. Doesthiscase originate from a m atterpending in the N orthern Region ofthe U .S.Attorney's Office
      priortoAugust8,2014 (M ag.JudgeShaniek M aynard?(YesorNo)No
      D oesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney's Office
      priorto October3,2019 (M ag.JudgeJared Strauss?(YesorNo)No
      Did thismatterinvolvethe participation oforconsultation w ith now M agistrateJudge Eduardo 1. Sanchez
      during histenure atthe U .S.A ttorney'sOffice,which concluded on January 22, 2023? N O


                                                    1i1y:      '       .     G'      -          '
                                                            W illJ.Rosenzweig
                                                            A ssistantU nited StatesAttorney
                                                            CourtID N o. A 5502698
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 11 of 12




                            U NITED STA TES DISTR ICT CO UR T
                            SO UTH ER N D IST RICT O F FLO R IDA

                                       PEN A LTY SH EET

  Defendant's N am e: ArielG onzalez



  Count#:1

  Conspiracy to Com m itHea1th Care Fraud

  Title 18sU nited States CodesSection 1349

  * M ax.Term ofIm prisonm ent:10 Years
  *M andatory M in.Term oflmprisonment(ifapplicable):N/A
  * M ax.Supervised R elease:3 Years
  *M ax.Fine:$250,000orTwicethe GrossGain orLossResulting from theOffense

  Counts#:2-5

  Health CareFraud

  Title 18,United StatesCode.Section 1347

  * M ax.Term oflm prisonm ent: 10 Years
  *M andatoryM in.Term oflmprisonment(ifapplicable):N/A
  * M ax.Supervised R elease:3 Years
  *M ax.Fine:$250,000 orTwice the GrossGain orLossResulting from the Offense




    *Refersonly to possibleterm ofincarceration,supervised release and fines. Itdoesnotinclude
         restitution,specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:23-cr-20248-RNS Document 1 Entered on FLSD Docket 06/16/2023 Page 12 of 12




                            UN ITE D STA TES DISTR IC T C O UR T
                            SO UTH ER N D IST RIC T O F FLO R ID A

                                        PEN A LTY SH EET

  D efendant's N am e: Linda Taylor



  Count#:l

  Conspiracy to Com m itHealth Care Fraud

  Title 18,U nited StatesCode,Section 1349

  * M ax.Term oflm prisonm ent:10 Years
  *M andatory M in.Term oflmprisonment(ifapplicable):N/A
  * M ax.Supervised R elease:3 Years
  * M ax.Fine:$250,000 orTwicethe GrossGain orLossResulting from theOffense

  Counts#:2-3

  Health Care Fraud

  Title 18.United States CodesSection 1347

  * M ax.T erm oflm prisonm ent: 10 Years
  *M andatoryM in.Term oflmprisonment(ifapplicable):N/A
  * M ax.Supervised R elease:3 Years
  *M ax.Fine:$250,000 orTwicethe GrossGain orLossResultingfrom the Offense




    WRefersonly to possible term ofincarceration,supervised release and fines. ltdoesnotinclude
          restitution,specialassessm ents,parole term s,orforfeituresthatm ay be applicable.
